CaSe 1:04-cr-10050-.]DT Document 44 Filed 07/08/05 Page 1 of 3 Page|D 47

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

`UNITED STATES OP Al\/[ERICA,

Plaintiff
CR. NO. 04~1005 -T

l'.

BILLY WAYNE MOORE,
Defendant

MOTION TO CONT UE

 
 
   
 
   
 
 
 
 

Comes now the Defendant, BILLY AYNE MOORE, by and through his
rt for an order of continuance of the report

attorney, and moves this Honorable C
report date is currently set on Friday, August 5,

date in the above styled cause. T
2005 at 9:00 a.m.

Counsel for Def dant has a hearing at Dyer County Probate Court on August 5,
eduled since june 3, 2005. This case has been previously

2005 that has been s

continued
Cou sel for Defendant has consulted With the Assistant United States Attorney,

, and he has no objection to a continuance Defense counsel and Mr. Powell

lirn Pow
Would e available on August 15t , 2“d , 3m or 4“‘ .

WHEREFORE, premises considered, Defendant moves this Honorable Court for

   

19 3 ila 9~1:; gm
” ga tall

a continuance of the report date in the above styled cause.
to ey for Defendant

Mor-loN GHANT,ED
DATE: Z% 2¢’_2$

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P.O. Box 3146

v lodd
net Judge ]ackson, TN 38303 q

Th!s document entered on the docket ln compliance 731-988-9900
with nusassmworaa(b) Fnchon 5

  
 

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CERTIFICATE OF SERVICE

l certify that l have mailed, first class postage prepaid, or hand delivered a copy
of the foregoing to:

lim Powell

Assistant United States District Attorney
109 S. Highland Avenue, Third Floor
]acl<son, Tennessee 38301

U.S. Probation Office

109 S. Highland Avenue
]acl<son, Tennessee 38301

this the jay of ]uly, 2005.

 
  

orney for Defendant

/»!

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case l:04-CR-10050 Was distributed by faX, mail, or direct printing on
.luly ll, 2005 to the parties listed.

 

 

J eff Mueller

LAW OFFICES OF JEFF l\/[UELLER
P.O. Box 3146

Jacl<son7 TN 38303

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

